                            Case 16-18011-RBR                             Doc 1      Filed 06/03/16        Page 1 of 76


 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF FLORIDA

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                                 Check if this is an
                                                                        Chapter 13
                                                                                                                                 amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Samuel                                                   Marlene
     government-issued picture
                                       First Name                                               First Name
     identification (for example,
     your driver's license or
     passport).                        Middle Name                                              Middle Name

                                       Witter                                                   Witter
     Bring your picture                Last Name                                                Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)


2.   All other names you               Samuel                                                   Marlene
     have used in the last 8           First Name                                               First Name
     years                             Edward                                                   Joan
                                       Middle Name                                              Middle Name
     Include your married or
                                       Witter                                                   Witter
     maiden names.
                                       Last Name                                                Last Name



                                       Samuel                                                   Marlene
                                       First Name                                               First Name
                                       E.                                                       J.
                                       Middle Name                                              Middle Name
                                       Witter                                                   Witter
                                       Last Name                                                Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   9        4       3    0     xxx – xx –                   6         7        1      9
     number or federal                 OR                                                       OR
     Individual Taxpayer
     Identification number             9xx – xx –                                               9xx – xx –
     (ITIN)




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 1
                            Case 16-18011-RBR                   Doc 1          Filed 06/03/16              Page 2 of 76

Debtor 1     Samuel                                        Witter                             Case number (if known)
             First Name          Middle Name               Last Name

                                     About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                      I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in          Business name                                                Business name
     the last 8 years
                                     Business name                                                Business name
     Include trade names and
     doing business as names
                                     Business name                                                Business name

                                                  –                                                           –
                                     EIN                                                          EIN
                                                  –                                                           –
                                     EIN                                                          EIN
5.   Where you live                                                                               If Debtor 2 lives at a different address:

                                     7421 NW 35 Ct
                                     Number       Street                                          Number      Street




                                     Lauderhill                  FL        33319
                                     City                        State     ZIP Code               City                       State     ZIP Code

                                     Broward
                                     County                                                       County

                                     If your mailing address is different from                    If Debtor 2's mailing address is different
                                     the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                     court will send any notices to you at this                   will send any notices to you at this mailing
                                     mailing address.                                             address.



                                     Number       Street                                          Number      Street


                                     P.O. Box                                                     P.O. Box


                                     City                        State     ZIP Code               City                       State     ZIP Code


6.   Why you are choosing            Check one:                                                   Check one:
     this district to file for
     bankruptcy                              Over the last 180 days before filing this                   Over the last 180 days before filing this
                                             petition, I have lived in this district longer              petition, I have lived in this district longer
                                             than in any other district.                                 than in any other district.

                                             I have another reason. Explain.                             I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the             Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                  Chapter 7

                                            Chapter 11

                                            Chapter 12

                                            Chapter 13




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
                          Case 16-18011-RBR                 Doc 1        Filed 06/03/16            Page 3 of 76

Debtor 1     Samuel                                  Witter                           Case number (if known)
             First Name         Middle Name          Last Name

8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                        court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                        pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                        behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                        Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                        By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                        than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                        fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                        Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                 No
     bankruptcy within the
     last 8 years?                      Yes.

                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY
                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy                  No
    cases pending or being
    filed by a spouse who is            Yes.
    not filing this case with
                                   Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an              District                                               When                    Case number,
    affiliate?                                                                                   MM / DD / YYYY   if known


                                   Debtor                                                             Relationship to you

                                   District                                               When                    Case number,
                                                                                                 MM / DD / YYYY   if known

11. Do you rent your                    No.    Go to line 12.
    residence?                          Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                             residence?

                                                    No. Go to line 12.
                                                    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                    and file it with this bankruptcy petition.




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
                           Case 16-18011-RBR                     Doc 1          Filed 06/03/16         Page 4 of 76

Debtor 1     Samuel                                        Witter                         Case number (if known)
             First Name              Middle Name           Last Name


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                No. Go to Part 4.
    of any full- or part-time                Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                   Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                  Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                      City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                   Check the appropriate box to describe your business:
    to this petition.
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under                If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                   can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                 most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business            or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                             No.   I am not filing under Chapter 11.

                                             No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                   the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                  Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                   No
    property that poses or is                Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                        If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                 Where is the property?
    a building that needs urgent                                              Number   Street
    repairs?



                                                                              City                                     State         ZIP Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
                            Case 16-18011-RBR                  Doc 1        Filed 06/03/16           Page 5 of 76

Debtor 1     Samuel                                      Witter                          Case number (if known)
             First Name           Middle Name            Last Name


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received             I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
                           Case 16-18011-RBR                    Doc 1        Filed 06/03/16           Page 6 of 76

Debtor 1     Samuel                                       Witter                          Case number (if known)
             First Name            Middle Name            Last Name


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you         16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                     as "incurred by an individual primarily for a personal, family, or household purpose."
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                      16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                      16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                               No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                             No
    are paid that funds will be
                                                        Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                    1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                    50-99                            5,001-10,000                       50,001-100,000
    owe?                                     100-199                          10,001-25,000                      More than 100,000
                                             200-999

19. How much do you                          $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to                  $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                                $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                          $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to             $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                      $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
                          Case 16-18011-RBR               Doc 1         Filed 06/03/16             Page 7 of 76

Debtor 1     Samuel                                 Witter                            Case number (if known)
             First Name       Middle Name           Last Name


 Part 7:      Sign Below
For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                 and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                 or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                 proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                 fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                 connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                 or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                 X /s/ Samuel Witter                                         X /s/ Marlene Witter
                                    Samuel Witter, Debtor 1                                     Marlene Witter, Debtor 2

                                    Executed on 06/03/2016                                      Executed on 06/03/2016
                                                MM / DD / YYYY                                              MM / DD / YYYY




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                             page 7
                          Case 16-18011-RBR                 Doc 1        Filed 06/03/16             Page 8 of 76

Debtor 1     Samuel                                   Witter                           Case number (if known)
             First Name         Middle Name           Last Name

For your attorney, if you are      I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                 eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                   relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by      the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need       certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                 is incorrect.



                                   X /s/ John D. Segaul                                                  Date 06/03/2016
                                      Signature of Attorney for Debtor                                        MM / DD / YYYY


                                      John D. Segaul
                                      Printed name
                                      Segaul Law Firm
                                      Firm Name
                                      300 S Pine Island Road # 304
                                      Number          Street




                                      Plantation                                                 FL              33324
                                      City                                                       State           ZIP Code


                                      Contact phone (954) 424-3600                     Email address john@segaul.com


                                      907405                                                     FL
                                      Bar number                                                 State




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
                                   Case 16-18011-RBR                                Doc 1             Filed 06/03/16                     Page 9 of 76


 Fill in this information to identify your case:
 Debtor 1                Samuel                                                      Witter
                         First Name                    Middle Name                   Last Name

 Debtor 2            Marlene                                                         Witter
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $224,250.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $30,449.00
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $254,699.00
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $298,088.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $13,848.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $114,242.87
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $426,178.87




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $4,422.32
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $3,559.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
                           Case 16-18011-RBR                   Doc 1        Filed 06/03/16           Page 10 of 76

Debtor 1      Samuel                                      Witter                           Case number (if known)
              First Name            Middle Name           Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $3,222.45


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                  $13,848.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                     $13,848.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                                 Case 16-18011-RBR                      Doc 1          Filed 06/03/16               Page 11 of 76


  Fill in this information to identify your case and this filing:
  Debtor 1               Samuel                                           Witter
                         First Name                  Middle Name          Last Name

  Debtor 2            Marlene                                             Witter
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

  Case number
                                                                                                                                    Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
7421 NW 35 Court                                           Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the            Current value of the
                                                               Condominium or cooperative                    entire property?                portion you own?
Lauderhill                       FL       33319                Manufactured or mobile home                               $224,250.00                  $224,250.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
                                                               Other                                         entireties, or a life estate), if known.
County
                                                                                                             Fee Simple
                                                           Who has an interest in the property?
7421 NW 35 Court, Lauderhill, FL
                                     Check one.
33319
                                        Debtor 1 only                                                             Check if this is community property
Lot 60, Block 1, of BOULEVARD WEST,
                                        Debtor 2 only                                                             (see instructions)
A SUBDIVISION, according to the Plat
thereof, recorded in Plat Book 92,      Debtor 1 and Debtor 2 only
Page 19, of the Public Records of       At least one of the debtors and another
Broward County, Florida.
                                                           Other information you wish to add about this item, such as local
                                                           property identification number:  4941 22 15 0600

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $224,250.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
                            Case 16-18011-RBR                  Doc 1       Filed 06/03/16           Page 12 of 76

Debtor 1     Samuel                                       Witter                          Case number (if known)
             First Name              Middle Name          Last Name

3.1.                                               Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                     Ford                     Check one.                                 amount of any secured claims on Schedule D:
                                                Debtor 1 only                                 Creditors Who Have Claims Secured by Property.
Model:                    Freestar Van SE 4D Wagon
                                                      Debtor 2 only                           Current value of the      Current value of the
Year:                     2004
                                                      Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 150,000                          At least one of the debtors and another                $500.00                  $500.00
Other information:
2004 Ford Freestar Van SE 4D Wagon                    Check if this is community property
(approx. 150000 miles)                                (see instructions)
VIN: 2FMZA51634BA32042
Black Book Rough Trade-In.
3.2.                                               Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                     Ford                     Check one.                                 amount of any secured claims on Schedule D:
                                                                                              Creditors Who Have Claims Secured by Property.
Model:                    Freestar Van Base CargoDebtor
                                                  V     1 only
                                                      Debtor 2 only                           Current value of the      Current value of the
Year:                     2005
                                                      Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 137,500                          At least one of the debtors and another                $500.00                  $500.00
Other information:
2005 Ford Freestar Van Base Cargo V                   Check if this is community property
(approx. 137500 miles)                                (see instructions)
VIN: 2FTZA54625BA88975
Rough Condition - No Engine - No
Driveable
3.3.                                               Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                     Nissan                   Check one.                                 amount of any secured claims on Schedule D:
                                                      Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                    Rogue S 4D SUV FWD
                                                      Debtor 2 only                           Current value of the      Current value of the
Year:                     2013
                                                      Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 32,902                           At least one of the debtors and another            $14,650.00               $14,650.00
Other information:
2013 Nissan Rogue S 4D SUV FWD                        Check if this is community property
(approx. 32902 miles)                                 (see instructions)
VIN: JN8AS5MTXDW013832

Black Book Average Retail
3.4.                                               Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                     Hummer                   Check one.                                 amount of any secured claims on Schedule D:
                                                      Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                    H2 4D SUV
                                                      Debtor 2 only                           Current value of the      Current value of the
Year:                     2003
                                                      Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 160,000                          At least one of the debtors and another             $9,000.00                 $9,000.00
Other information:
2003 Hummer H2 4D SUV                                 Check if this is community property
(approx. 160,000 miles)                               (see instructions)
VIN: 5GRGN23U73H136057
3.5.                                               Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                     Chevy                    Check one.                                 amount of any secured claims on Schedule D:
                                                      Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:                    Corvette
                                                      Debtor 2 only                           Current value of the      Current value of the
Year:                     1984
                                                      Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 100,000                          At least one of the debtors and another                $500.00                  $500.00
Other information:
1984 Chevy Corvette                                   Check if this is community property
(approx. 100000 miles)                                (see instructions)
Parts Only, Not Driveable, Not Classic
Car


Official Form 106A/B                                          Schedule A/B: Property                                                     page 2
                                Case 16-18011-RBR                     Doc 1          Filed 06/03/16               Page 13 of 76

Debtor 1         Samuel                                         Witter                               Case number (if known)
                 First Name            Middle Name              Last Name

3.6.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                         Mercedes-Benz            Check one.                                          amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
Model:                        S Class S500 4D Sedan Debtor 1 only
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2001
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 130,000                                At least one of the debtors and another             $2,015.00                             $2,015.00
Other information:
2001 Mercedes-Benz S Class S500 4D                          Check if this is community property
Sedan (approx. 130000 miles)                                (see instructions)
VIN: WDBNG75JX1A183266
Black Book Rough Trade In.
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $27,165.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Sofa $200, Loveseat $100, Coffee Tables $40, End Tables $40, Lamps $20,                                                $1,220.00
                                  Mirrors $20, Dining Set $300, Dressers $80, Armoire $60, Nightstands $60,
                                  Beds $300.
7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Televisions $400, DVD Players $70, Stereos $40, CD Players $40, Speakers                                                 $970.00
                                  $20, Computer Equipment $400.
8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............
                               2 Guns.                                                                                                                  $200.00

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Shoes, shirts, t-shirts, pants, dresses, skirts, jeans, accessories, etc.                                                $250.00


Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
                                     Case 16-18011-RBR                                      Doc 1              Filed 06/03/16                         Page 14 of 76

Debtor 1          Samuel                                                            Witter                                           Case number (if known)
                  First Name                       Middle Name                      Last Name

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Wedding Bands, Costume Jewelry, Watches.                                                                                                                                     $350.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                    $2,990.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $10.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.        Checking account:                     Citibank Checking Acct # 5195.                                                                                                               $177.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
            No
            Yes. Give specific
            information about
            them...............................................
                                               Name of entity:                                                                                           % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific
            information about
            them...............................................
                                               Issuer name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                                                                  page 4
                                   Case 16-18011-RBR                          Doc 1        Filed 06/03/16       Page 15 of 76

Debtor 1         Samuel                                                  Witter                       Case number (if known)
                 First Name                    Middle Name               Last Name

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:            Institution name:
                                           IRA:                        IRA with Fidelity.                                                             $107.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                      Federal:                  $0.00
           about them, including whether
           you already filed the returns                                                                                       State:                    $0.00
           and the tax years.....................................
                                                                                                                               Local:                    $0.00




Official Form 106A/B                                                         Schedule A/B: Property                                                       page 5
                                  Case 16-18011-RBR                              Doc 1            Filed 06/03/16                   Page 16 of 76

Debtor 1         Samuel                                                    Witter                                    Case number (if known)
                 First Name                   Middle Name                  Last Name

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:                                 $0.00

                                                                                                                                      Maintenance:                             $0.00

                                                                                                                                      Support:                                 $0.00
                                                                                                                                      Divorce settlement:                      $0.00

                                                                                                                                      Property settlement:                     $0.00

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:

                                                  Term Life Insurance policy with
                                                  Bankers Life and Casualty Company
                                                  for $30,000. [No Cash Value].                                 Marlene Witter                                                 $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................      $294.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.




Official Form 106A/B                                                            Schedule A/B: Property                                                                          page 6
                                  Case 16-18011-RBR                              Doc 1            Filed 06/03/16                   Page 17 of 76

Debtor 1         Samuel                                                    Witter                                    Case number (if known)
                 First Name                   Middle Name                  Last Name

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

             Advoguard Technologies LLC
             3810 Inverrary Blvd # 102-Q
             Lauderhill, FL 33319
             EIN: XX-XXXXXXX
             [No Cash Value]                                                                                                                                                    $0.00
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
                                    Case 16-18011-RBR                            Doc 1            Filed 06/03/16                   Page 18 of 76

Debtor 1          Samuel                                                   Witter                                    Case number (if known)
                  First Name                    Middle Name                Last Name

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
                                     Case 16-18011-RBR                                 Doc 1             Filed 06/03/16                       Page 19 of 76

Debtor 1           Samuel                                                       Witter                                        Case number (if known)
                   First Name                    Middle Name                    Last Name


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $224,250.00

56. Part 2: Total vehicles, line 5                                                                                  $27,165.00

57. Part 3: Total personal and household items, line 15                                                               $2,990.00

58. Part 4: Total financial assets, line 36                                                                              $294.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $30,449.00              property total                 +           $30,449.00


63. Total of all property on Schedule A/B.                                                                                                                                                  $254,699.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 9
                           Case 16-18011-RBR                   Doc 1         Filed 06/03/16            Page 20 of 76


 Fill in this information to identify your case:
 Debtor 1            Samuel                                      Witter
                     First Name           Middle Name            Last Name
 Debtor 2            Marlene                                     Witter
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $224,250.00                     $0.00           Fla. Const. art. X § 4(a)(1); Fla. Stat.
7421 NW 35 Court, Lauderhill, FL 33319                                            100% of fair market     Ann. §§ 222.01, .02
Lot 60, Block 1, of BOULEVARD WEST, A                                             value, up to any
SUBDIVISION, according to the Plat                                                applicable statutory
thereof, recorded in Plat Book 92, Page 19,                                       limit
of the Public Records of Broward County,
Florida.
Parcel: 4941 22 15 0600
Line from Schedule A/B:  1.1




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
                           Case 16-18011-RBR               Doc 1       Filed 06/03/16            Page 21 of 76

Debtor 1      Samuel                                   Witter                        Case number (if known)
              First Name         Middle Name           Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $9,000.00                   $0.00           Fla. Const. art. X, § 4(a)(2)
2003 Hummer H2 4D SUV (approx. 160000                                        100% of fair market
miles)                                                                       value, up to any
2003 Hummer H2 4D SUV                                                        applicable statutory
(approx. 160,000 miles)                                                      limit
VIN: 5GRGN23U73H136057
Line from Schedule A/B: 3.4

Brief description:                                      $2,015.00                $2,000.00          Fla. Stat. Ann. § 222.25(1)
2001 Mercedes-Benz S Class S500 4D                                           100% of fair market
Sedan (approx. 130000 miles)                                                 value, up to any
VIN: WDBNG75JX1A183266                                                       applicable statutory
Black Book Rough Trade In.                                                   limit
Line from Schedule A/B: 3.6

Brief description:                                       $107.00                  $107.00           Fla. Stat. Ann. § 222.21(2)
IRA with Fidelity.                                                           100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     21
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           Fla. Stat. Ann. § 222.14
Term Life Insurance policy with Bankers                                      100% of fair market
Life and Casualty Company for $30,000.                                       value, up to any
[No Cash Value].                                                             applicable statutory
Line from Schedule A/B: 31                                                   limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
                                 Case 16-18011-RBR                Doc 1         Filed 06/03/16           Page 22 of 76


  Fill in this information to identify your case:
  Debtor 1             Samuel                                       Witter
                       First Name            Middle Name            Last Name

  Debtor 2            Marlene                                       Witter
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                           $266,389.00             $224,250.00            $42,139.00
Nationstar Mortgage LLC
Creditor's name
                                                 7421 NW 35 Court, Lauderhill,
350 Highland Dr                                  FL 33319
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Lewisville               TX       75067              Unliquidated
City                     State    ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage
   to a community debt
Date debt was incurred           02/2007         Last 4 digits of account number        3     1    1    7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $266,389.00

Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
                                Case 16-18011-RBR               Doc 1        Filed 06/03/16             Page 23 of 76

Debtor 1      Samuel                                       Witter                           Case number (if known)
              First Name               Middle Name         Last Name


                  Additional Page                                                       Column A               Column B              Column C
  Part 1:                                                                               Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                        Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                        value of collateral    claim                 If any

  2.2                                           Describe the property that
                                                secures the claim:                            $22,698.00              $14,650.00         $8,048.00
Santander Consumer USA                          2013 Nissan Rogue S (approx.
Creditor's name
POB 961245                                      32902 miles)
Number     Street


                                                As of the date you file, the claim is: Check all that apply.
                                                    Contingent
Fort Worth              TX       76161              Unliquidated
City                    State    ZIP Code
                                                    Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          05/2013         Last 4 digits of account number        1     0    0    0

  2.3                                           Describe the property that
                                                secures the claim:                               $9,001.00              $9,000.00            $1.00
Westlake Financial Services
Creditor's name
                                                2003 Hummer H2 (approx.
137 North Virgil Ave # 100                      160 miles)
Number     Street


                                                As of the date you file, the claim is: Check all that apply.
                                                    Contingent
Los Angeles             CA       90004              Unliquidated
City                    State    ZIP Code
                                                    Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          08/07/2014      Last 4 digits of account number        9     8    7    0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $31,699.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                           $298,088.00

Official Form 106D                 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2
                             Case 16-18011-RBR                    Doc 1         Filed 06/03/16            Page 24 of 76


  Fill in this information to identify your case:
  Debtor 1             Samuel                                       Witter
                       First Name            Middle Name            Last Name

  Debtor 2            Marlene                                       Witter
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $13,848.00           $8,797.28            $5,050.72
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number
POB 7346                                                   When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                    PA      19101-7346             Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
                              Case 16-18011-RBR                    Doc 1         Filed 06/03/16               Page 25 of 76

Debtor 1       Samuel                                         Witter                            Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with you other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                        $40,288.75
ADEMCO Distribution Inc                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
c/o Leiderman Shelomith, P.A.
Number        Street                                        As of the date you file, the claim is: Check all that apply.
2699 Stirling Rd # C-401                                        Contingent
                                                                Unliquidated
                                                                Disputed
Fort Lauderdale                 FL       33312
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Supplier
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                            $120.00
AMCA                                                        Last 4 digits of account number         5     7    1     0
Nonpriority Creditor's Name
                                                            When was the debt incurred?
2269 S Saw Mill
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Elmsford                        NY       10523
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for LabCorp
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16            Page 26 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

   4.3                                                                                                                             $11,176.72
Can Capital Asset Servicing                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
c/o Mateer Harbert
Number        Street                                       As of the date you file, the claim is: Check all that apply.
225 E Robinson Street # 600                                    Contingent
                                                               Unliquidated
                                                               Disputed
Orlando                        FL       32802
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Business Debt
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                               $1,548.00
Capital One                                                Last 4 digits of account number      7 5        7    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?        09/2014
POB 30285
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Salt Lake City                 UT       84130
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Credit Card
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                 $681.00
Capital One                                                Last 4 digits of account number      4 3        7    8
Nonpriority Creditor's Name
                                                           When was the debt incurred?        08/2014
POB 30285
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Salt Lake City                 UT       84130
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16            Page 27 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

   4.6                                                                                                                                 $415.00
Central Financial Control                                  Last 4 digits of account number      9 9        7    5
Nonpriority Creditor's Name
                                                           When was the debt incurred?        10/2014
POB 66044
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Anaheim                        CA       92816
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for West Boca Medical Center
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                               $1,942.00
Chase                                                      Last 4 digits of account number      0 3 3           2
Nonpriority Creditor's Name
                                                           When was the debt incurred?        04/20/2016
POB 15298
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Wilmington                     DE       19850
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                 $129.00
Comenity Bank/Victorias Secret                             Last 4 digits of account number      1 0        3    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?        12/2014
POB 182789
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Columbus                       OH       43218
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Charge Account
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16              Page 28 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

   4.9                                                                                                                               $7,613.00
Coral Community Bank                                       Last 4 digits of account number      0 2 0           3
Nonpriority Creditor's Name
                                                           When was the debt incurred?        06/13/2005
19230 NE 47 St
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Fort Lauderdale                FL       33308
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Auto Repo
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                 $290.00
Coral Springs Surgical Center                              Last 4 digits of account number      3 0        8    1
Nonpriority Creditor's Name
                                                           When was the debt incurred?        3/2015
1725 University Dr, 2nd Floor
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Coral Springs                  FL       33071
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Medical Services
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                 $533.00
Credence                                                   Last 4 digits of account number       9    0    0    1
Nonpriority Creditor's Name
                                                           When was the debt incurred?
POB 2268
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Southgate                      MI       48195
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for AT&T Mobility
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16              Page 29 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.12                                                                                                                               $1,184.00
Credit Collection Services                                 Last 4 digits of account number      8 7 2           1
Nonpriority Creditor's Name
                                                           When was the debt incurred?        10/28/2015
2 Wells Ave, Dept. 7250
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Newton                         MA       02459
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for Infinity Indemnity Insurance Compan
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                               $1,849.00
Eltman Law PC PA                                           Last 4 digits of account number       3    0    2    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?
101 Hudson St #2707
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Jersey City                    NJ       07302
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for North Star Capital Acquisiton LLC
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                 $704.00
Enhanced Recovery Company LLC                              Last 4 digits of account number       2    8    1    0
Nonpriority Creditor's Name
                                                           When was the debt incurred?
8104 Bayberry Rd
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Jacksonville                   FL       32256
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for Sprint
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16            Page 30 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.15                                                                                                                                 $453.19
Eye Physicians of Florida                                  Last 4 digits of account number      3 1 1           5
Nonpriority Creditor's Name
                                                           When was the debt incurred?        03/31/2015
13680 NW 6 Str # 240
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Sunrise                        FL       33325
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Medical Services
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                  $75.00
First Federal Credit & Control                             Last 4 digits of account number      2 5        9    5
Nonpriority Creditor's Name
                                                           When was the debt incurred?        12/2011
5821 Hollywood Blvd
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Hollywood                      FL       33021
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for University Hospital EKG Readers
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                  $75.00
First Federal Credit & Control                             Last 4 digits of account number      2 5        9    6
Nonpriority Creditor's Name
                                                           When was the debt incurred?        12/2011
5821 Hollywood Blvd
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Hollywood                      FL       33021
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for University Hospital EKG Readers
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16            Page 31 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.18                                                                                                                                 $453.00
First Federal Credit Collections                           Last 4 digits of account number      5 3        4    6
Nonpriority Creditor's Name
                                                           When was the debt incurred?        11/2015
24700 Chagrin Blvd # 2
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Cleveland                      OH       44122
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for South Florida Laser Eye Center
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                 $406.00
First Premier Bank                                         Last 4 digits of account number      5 1        7    7
Nonpriority Creditor's Name
                                                           When was the debt incurred?        01/2012
601 S Minnesota Ave
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Sioux Falls                    SD       57104
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Credit Card
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                 $358.00
First Premier Bank                                         Last 4 digits of account number      8 6        9    1
Nonpriority Creditor's Name
                                                           When was the debt incurred?        07/2013
601 S Minnesota Ave
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Sioux Falls                    SD       57104
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16              Page 32 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.21                                                                                                                                 $119.00
Focus Receivables Mgmt                                     Last 4 digits of account number      0 1        4    6
Nonpriority Creditor's Name
                                                           When was the debt incurred?        03/2015
1130 Northchase Pkwy SE
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Marietta                       GA       30067
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for Teminix International
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                               $3,630.00
Gayon D. Dunn                                              Last 4 digits of account number       3    2    6    5
Nonpriority Creditor's Name
                                                           When was the debt incurred?
19151 SW 15 St
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Pembroke Pines                 FL       33029
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Monies Owed
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                             $14,709.21
Household Finance                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
c/o Rolfe Law
Number        Street                                       As of the date you file, the claim is: Check all that apply.
POB 4400                                                       Contingent
                                                               Unliquidated
                                                               Disputed
Jacksonville                   FL       32201
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                     page 9
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16            Page 33 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.24                                                                                                                                 $708.00
Merrick Bank                                               Last 4 digits of account number      4 7        5    6
Nonpriority Creditor's Name
                                                           When was the debt incurred?        05/2013
POB 9201
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Old Bethpage                   NY       11804
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Credit Card
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                 $636.00
Palm Beach County Fire Rescue                              Last 4 digits of account number      3 2 2           3
Nonpriority Creditor's Name
                                                           When was the debt incurred?        06/20/2014
POB 862036
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Orlando                        FL       32886
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Medical Services
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                  $35.00
Quest Diagnostics                                          Last 4 digits of account number      2 9        2    5
Nonpriority Creditor's Name
                                                           When was the debt incurred?        07/2015
POB 7306
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Hollister                      MO       65673
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Medical Services
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    page 10
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16            Page 34 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.27                                                                                                                                 $241.00
Sheridan Emergency Physician Services                      Last 4 digits of account number      5 6        3    6
Nonpriority Creditor's Name
                                                           When was the debt incurred?        2/2009
POB 848508
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Pembroke Pines                 FL       33084
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Medical Services
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                               $3,200.00
Silmar Electronics                                         Last 4 digits of account number       i  c      e    s
Nonpriority Creditor's Name
                                                           When was the debt incurred?        5/2011
3405 NW 113 Ct
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Miami                          FL       33178
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Unknown
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                               $7,000.00
Square                                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?
1455 Market St # 600
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
San Francisco                  CA       94103
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    page 11
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16              Page 35 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.30                                                                                                                               $8,971.00
State Farm Fire and Casualty Company                       Last 4 digits of account number       0    1    9    7
Nonpriority Creditor's Name
                                                           When was the debt incurred?
One State Farm Plaza
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Bloomington                    IL       61710
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Auto Accident
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                               $3,042.00
State Farm Fire and Casualty Company                       Last 4 digits of account number       6    1    5    2
Nonpriority Creditor's Name
                                                           When was the debt incurred?
One State Farm Plaza
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Bloomington                    IL       61710
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Auto Accident
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                               $1,486.00
Stellar Recovery, Inc                                      Last 4 digits of account number       5    3    5    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?
POB 1119
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Charlotte                      NC       28201
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for HSBC Orchard Bank
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    page 12
                              Case 16-18011-RBR                  Doc 1        Filed 06/03/16            Page 36 of 76

Debtor 1       Samuel                                        Witter                          Case number (if known)
               First Name              Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.33                                                                                                                                 $172.00
Transworld Systems Inc.                                    Last 4 digits of account number      6 2        0    6
Nonpriority Creditor's Name
                                                           When was the debt incurred?        7/2015
POB 17221
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Wilmington                     DE       19850
City                           State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt             Collecting for Anesco North Broward
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    page 13
                            Case 16-18011-RBR                  Doc 1        Filed 06/03/16           Page 37 of 76

Debtor 1       Samuel                                      Witter                          Case number (if known)
               First Name               Middle Name        Last Name


  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Anesco North Broward, LLC                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3601 W Commercial Blvd # 5                                  Line    4.33 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Ft Lauderdale                   FL         33309
City                            State      ZIP Code


AT&T Mobility                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 536216                                                  Line    4.11 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Atlanta                         GA         30353
City                            State      ZIP Code


Eltman, Eltman & Cooper                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
255 Alhambra Cir # 414                                      Line    4.13 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Miami                           FL         33134
City                            State      ZIP Code


HSBC Orchard Bank                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 2013                                                    Line    4.32 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Buffalo                         NY         14240
City                            State      ZIP Code


Infinity Indemnity Insurance Company                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 830189                                                  Line    4.12 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Birmingham                      AL         35283
City                            State      ZIP Code




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 14
                          Case 16-18011-RBR                Doc 1        Filed 06/03/16           Page 38 of 76

Debtor 1     Samuel                                    Witter                          Case number (if known)
             First Name             Middle Name        Last Name


  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Laboratory Corporation of America                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 2240                                                Line    4.2 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Burlington                  NC         27216
City                        State      ZIP Code


Law Office of Odalys Nodarse-Buscemi                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2676 SW 137 Ave                                         Line    4.31 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Miami                       FL         33175
City                        State      ZIP Code


Law Office of Odalys Nodarse-Buscemi                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2676 SW 137 Ave                                         Line    4.30 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Miami                       FL         33175
City                        State      ZIP Code


Law Offices of Michael W. Carroll                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
8600 W. Commerical Blvd # 207                           Line    4.30 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Fort Lauderdale             FL         33309
City                        State      ZIP Code


LVNV Funding, LLC                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 740281                                              Line    4.13 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Houston                     TX         77274
City                        State      ZIP Code


Nationwide Recovery Service                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
545 W Inman St                                          Line    4.27 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Cleveland                   TN         37311
City                        State      ZIP Code




Official Form 106E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page 15
                          Case 16-18011-RBR                Doc 1        Filed 06/03/16           Page 39 of 76

Debtor 1     Samuel                                    Witter                          Case number (if known)
             First Name             Middle Name        Last Name


  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

North Star Capital Acquisition, LLC                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
170 North Pointe Parkway                                Line    4.13 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Amherst                     NY         14228
City                        State      ZIP Code


Phillips, Cohen & Associates, Ltd                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 48458                                               Line    4.24 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Oak Park                    MI         48238
City                        State      ZIP Code


South Florida Laser Eye Center                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
8051 W Sunrise Blvd                                     Line    4.18 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Plantation                  FL         33322
City                        State      ZIP Code


Sprint                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 105243                                              Line    4.14 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Atlanta                     GA         30348
City                        State      ZIP Code


Terminix International                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
860 Ridge Lake Blvd #101                                Line    4.21 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Memphis                     TN         38120
City                        State      ZIP Code


University Hospital EKG Readers                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1175 Devin Dr # 174                                     Line    4.17 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Muskegon                    MI         49441
City                        State      ZIP Code




Official Form 106E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page 16
                          Case 16-18011-RBR                Doc 1        Filed 06/03/16           Page 40 of 76

Debtor 1     Samuel                                    Witter                          Case number (if known)
             First Name             Middle Name        Last Name


  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

University Hospital EKG Readers                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1175 Devin Dr # 174                                     Line    4.16 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Muskegon                    MI         49441
City                        State      ZIP Code


Wells Fargo Bank                                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 5137                                                Line    4.13 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Des Moines                  IA         50306
City                        State      ZIP Code


West Boca Medical Center                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
21644 State Rd 7 West                                   Line    4.6 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims

                                                        Last 4 digits of account number
Boca Raton                  FL         33428
City                        State      ZIP Code




Official Form 106E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page 17
                              Case 16-18011-RBR                     Doc 1    Filed 06/03/16              Page 41 of 76

Debtor 1       Samuel                                           Witter                     Case number (if known)
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                    Total claim

Total claims        6a. Domestic support obligations                                                      6a.                     $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                              6b.             $13,848.00

                    6c. Claims for death or personal injury while you were intoxicated                    6c.                     $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.           6d.   +                 $0.00


                    6e. Total.       Add lines 6a through 6d.                                             6d.             $13,848.00




                                                                                                                    Total claim

Total claims        6f.     Student loans                                                                 6f.                     $0.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                      6g.                     $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                       6h.                     $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.    6i.   +        $114,242.87


                    6j.     Total.   Add lines 6f through 6i.                                             6j.            $114,242.87




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                       page 18
                           Case 16-18011-RBR                   Doc 1         Filed 06/03/16           Page 42 of 76


 Fill in this information to identify your case:
 Debtor 1            Samuel                                      Witter
                     First Name           Middle Name            Last Name

 Debtor 2            Marlene                                     Witter
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                              Case 16-18011-RBR                 Doc 1         Filed 06/03/16             Page 43 of 76


 Fill in this information to identify your case:
 Debtor 1            Samuel                                       Witter
                     First Name           Middle Name             Last Name

 Debtor 2            Marlene                                      Witter
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

 Case number
                                                                                                                         Check if this is an
 (if known)
                                                                                                                         amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes

2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes
3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                              Check all schedules that apply:

3.1      Advoguard Technologies LLC
         Name                                                                                       Schedule D, line
         3810 Inverrary Blvd # 102-Q                                                                Schedule E/F, line
         Number      Street
                                                                                                                              4.1
                                                                                                    Schedule G, line

         Lauderhill                                FL             33319                       ADEMCO Distribution Inc
         City                                      State          ZIP Code


3.2      Advoguard Technologies LLC
         Name                                                                                       Schedule D, line
         3810 Inverrary Blvd # 102-Q                                                                Schedule E/F, line
         Number      Street
                                                                                                                              4.3
                                                                                                    Schedule G, line

         Lauderhill                                FL             33319                       Can Capital Asset Servicing
         City                                      State          ZIP Code




Official Form 106H                                          Schedule H: Your Codebtors                                                         page 1
                              Case 16-18011-RBR             Doc 1        Filed 06/03/16        Page 44 of 76

Debtor 1      Samuel                                    Witter                    Case number (if known)
              First Name          Middle Name           Last Name


               Additional Page to List More Codebtors

       Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt

                                                                                      Check all schedules that apply:

3.3    Advoguard Technologies LLC
       Name                                                                               Schedule D, line
       3810 Inverrary Blvd # 102-Q                                                        Schedule E/F, line
       Number        Street
                                                                                                                 4.22
                                                                                          Schedule G, line

       Lauderhill                               FL            33319                   Gayon D. Dunn
       City                                     State         ZIP Code




Official Form 106H                                       Schedule H: Your Codebtors                                              page 2
                            Case 16-18011-RBR                  Doc 1        Filed 06/03/16                     Page 45 of 76


 Fill in this information to identify your case:
     Debtor 1              Samuel                                      Witter
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Marlene                                     Witter                                    An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                 A supplement showing postpetition
     United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA
                                                                                                                 chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                 MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Self-Employed                                      Legal Assistant
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Advogurad Technologies LLC                         Law Office of Diane Perry PA

      Occupation may include            Employer's address     3800 Inverrary Blvd # 400E                         2400 E Commercial Blvd # 511
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Lauderhill                   FL      33319         Fort Lauderdale         FL      33308
                                                               City                         State   Zip Code      City                    State   Zip Code

                                        How long employed there?        2 years                                           2 months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00              $1,932.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00              $1,932.00




Official Form 106I                                            Schedule I: Your Income                                                                 page 1
                                   Case 16-18011-RBR                                  Doc 1             Filed 06/03/16                      Page 46 of 76

Debtor 1 Samuel                                                                    Witter                                             Case number (if known)
            First Name                          Middle Name                        Last Name
                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00           $1,932.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                  $183.80
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                    $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                    $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                    $0.00
     5e. Insurance                                                                                              5e.                  $0.00                    $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                    $0.00
     5g. Union dues                                                                                             5g.                  $0.00                    $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                     $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                  $183.80
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                $1,748.20
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $2,674.12                        $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00                     $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                     $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00                     $0.00
     8e. Social Security                                                                                        8e.                  $0.00                     $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                     $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                     $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                     $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $2,674.12                        $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.           $2,674.12           +       $1,748.20       =       $4,422.32
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.             $4,422.32
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                            Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:



Official Form 106I                                                                  Schedule I: Your Income                                                                            page 2
                            Case 16-18011-RBR               Doc 1          Filed 06/03/16   Page 47 of 76

Debtor 1 Samuel                                           Witter                        Case number (if known)
          First Name                Middle Name           Last Name

8a. Attached Statement (Debtor 1)
                                                      Advoguard Technologies
FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

     1. Gross Income for 12 Months Prior to Filing:                                              $0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

     2. Gross Monthly Income:                                                                                            $5,844.37
PART C - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:

     3. Net Employee Payroll (Other Than Debtor):                                               $0.00
     4. Payroll Taxes:                                                                          $0.00
     5. Unemployment Taxes:                                                                     $0.00
     6. Worker's Compensation:                                                                  $0.00
     7. Other Taxes:                                                                            $0.00
     8. Inventory Purchases (including raw materials):                                          $0.00
     9. Purchase of Feed/Fertilizer/Seed/Spray:                                                 $0.00
     10. Rent (other than debtor's principal residence):                                      $392.00
     11. Utilities:                                                                           $148.25
     12. Office Expenses and Supplies:                                                         $87.50
     13. Repairs and Maintenance:                                                               $0.00
     14. Vehicle Expenses:                                                                      $0.00
     15. Travel and Entertainment:                                                              $0.00
     16. Equipment Rental and Leases:                                                           $0.00
     17. Legal/Accounting/Other Professional Fees:                                            $362.50
     18. Insurance:                                                                           $105.00
     19. Employee Benefits (e.g., pension, medical, etc.):                                      $0.00
     20. Payments to be Made Directly by Debtor to Secured Creditors for
          Pre-Petition Business Debts (Specify):                                                 None
     21. Other (Specify):
         Alarm Monitoring                                                                   $1,657.00
         Advertising                                                                           $87.50
         Bank Fees                                                                             $45.00
         Business License/Permits                                                             $175.00
         Merchant Fees                                                                        $110.50
     22. Total Monthly Expenses (Add items 3 - 21)                                                                       $3,170.25
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:

     23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2):                                                      $2,674.12




Official Form 106I                                         Schedule I: Your Income                                          page 3
                              Case 16-18011-RBR                   Doc 1         Filed 06/03/16             Page 48 of 76


 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Samuel                                        Witter                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Marlene                                       Witter
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF FLORIDA                                   MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,557.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
                              Case 16-18011-RBR              Doc 1       Filed 06/03/16    Page 49 of 76

Debtor 1 Samuel                                            Witter                      Case number (if known)
            First Name              Middle Name            Last Name

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                   $152.00
     6b. Water, sewer, garbage collection                                                           6b.                    $85.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                   $165.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $550.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.

10. Personal care products and services                                                             10.

11. Medical and dental expenses                                                                     11.

12. Transportation. Include gas, maintenance, bus or train                                          12.                   $250.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                         15a.

     15b.    Health insurance                                                                       15b.

     15c.    Vehicle insurance                                                                      15c.                  $200.00
     15d.    Other insurance. Specify:                                                              15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                             17a.

     17b.    Car payments for Vehicle 2                                                             17b.

     17c.    Other. Specify:                                                                        17c.

     17d.    Other. Specify:                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.                   $600.00
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).
     Child Support
19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
                          Case 16-18011-RBR                   Doc 1        Filed 06/03/16          Page 50 of 76

Debtor 1 Samuel                                             Witter                             Case number (if known)
           First Name                 Middle Name           Last Name

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.       $3,559.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $3,559.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $4,422.32
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –   $3,559.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        $863.32

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form 106J                                         Schedule J: Your Expenses                                       page 3
                           Case 16-18011-RBR               Doc 1         Filed 06/03/16        Page 51 of 76


 Fill in this information to identify your case:
 Debtor 1           Samuel                                   Witter
                    First Name          Middle Name          Last Name

 Debtor 2            Marlene                                 Witter
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                 Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Samuel Witter                                    X /s/ Marlene Witter
        Samuel Witter, Debtor 1                               Marlene Witter, Debtor 2

        Date 06/03/2016                                       Date 06/03/2016
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
                           Case 16-18011-RBR                   Doc 1         Filed 06/03/16              Page 52 of 76


 Fill in this information to identify your case:
 Debtor 1           Samuel                                       Witter
                    First Name            Middle Name            Last Name

 Debtor 2            Marlene                                     Witter
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

 Case number
                                                                                                                 Check if this is an
 (if known)
                                                                                                                 amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
                             Case 16-18011-RBR                      Doc 1         Filed 06/03/16         Page 53 of 76

Debtor 1       Samuel                                          Witter                         Case number (if known)
               First Name                Middle Name           Last Name


 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                        Debtor 1                                         Debtor 2

                                                       Sources of income           Gross income         Sources of income          Gross income
                                                       Check all that apply.       (before deductions   Check all that apply.      (before deductions
                                                                                   and exclusions                                  and exclusions

From January 1 of the current year until                   Wages, commissions,           $23,377.00         Wages, commissions,            $7,950.00
the date you filed for bankruptcy:                         bonuses, tips                                    bonuses, tips
                                                           Operating a business                             Operating a business


For the last calendar year:                                Wages, commissions,          $119,520.00         Wages, commissions,              $765.00
                                                           bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2015 )
                                  YYYY                     Operating a business                             Operating a business


For the calendar year before that:                         Wages, commissions,          $125,300.00         Wages, commissions,                $0.00
                                                           bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2014 )
                                  YYYY                     Operating a business                             Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 2
                              Case 16-18011-RBR                    Doc 1        Filed 06/03/16            Page 54 of 76

Debtor 1         Samuel                                       Witter                          Case number (if known)
                 First Name              Middle Name          Last Name


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Westlake Financial                                            monthly            $1,143.00           $9,001.00              Mortgage
Creditor's name                                               [last 90                                                      Car
137 N Virgil Ave # 100                                        days]                                                         Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Los Angeles                         CA       90004                                                                          Other
City                                State    ZIP Code


                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Nationstar Mortgage LLC                                       monthly            $4,671.00          $266,389.00             Mortgage
Creditor's name                                               [last 90                                                      Car
350 Highland Dr                                               days]                                                         Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Lewisville                          TX       75067                                                                          Other
City                                State    ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
                             Case 16-18011-RBR                  Doc 1        Filed 06/03/16               Page 55 of 76

Debtor 1       Samuel                                      Witter                            Case number (if known)
               First Name              Middle Name         Last Name

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                         Court or agency                               Status of the case
Can Capital Asset Serv v                   Loan Repayment/Final Judgment              Broward Circuit Court
                                                                                                                                              Pending
Advoguard & Samuel Witter                                                             Court Name
                                                                                      201 SE 6 St                                             On appeal
                                                                                      Number     Street
Case number COCE-15-05179                                                                                                                     Concluded

                                                                                      Fort Lauderdale            FL      33301
                                                                                      City                       State   ZIP Code


Case title                                 Nature of the case                         Court or agency                               Status of the case
Household Finance vs. Marlene              Credit Card Lawsuit                        Broward County Court
                                                                                                                                              Pending
Witter                                                                                Court Name
                                                                                      100 N. Pine Island Rd                                   On appeal
                                                                                      Number     Street
Case number COWE 09-15193                                                                                                                     Concluded

                                                                                      Plantation                 FL      33324
                                                                                      City                       State   ZIP Code




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
                              Case 16-18011-RBR                      Doc 1   Filed 06/03/16            Page 56 of 76

Debtor 1         Samuel                                        Witter                      Case number (if known)
                 First Name            Middle Name             Last Name

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:         List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Segual Law Firm                                                                                                 or transfer was     payment
Person Who Was Paid                                                                                             made

300 South Pine Island Road #304                                                                                    03/31/2016
Number      Street




Plantation                    FL       33324
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You



Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 5
                             Case 16-18011-RBR                  Doc 1       Filed 06/03/16           Page 57 of 76

Debtor 1       Samuel                                      Witter                         Case number (if known)
               First Name              Middle Name         Last Name

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6
                                Case 16-18011-RBR                  Doc 1         Filed 06/03/16              Page 58 of 76

Debtor 1        Samuel                                        Witter                            Case number (if known)
                First Name               Middle Name          Last Name


  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                   Describe the nature of the business                Employer Identification number
Advoguard Technologies LLC                         Security System Installations                      Do not include Social Security number or ITIN.
Business Name
                                                                                                      EIN: 2     7 – 4         6    1    9   8    2    3
3810 Inverrary Blvd # 102-Q                        Name of accountant or bookkeeper
Number       Street
                                                                                                      Dates business existed

                                                                                                      From     1/2/2011            To   present
Lauderhill                   FL      33319
City                         State   ZIP Code




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 7
                             Case 16-18011-RBR                 Doc 1       Filed 06/03/16           Page 59 of 76

Debtor 1       Samuel                                     Witter                         Case number (if known)
               First Name             Middle Name         Last Name

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Samuel Witter                                       X /s/ Marlene Witter
   Samuel Witter, Debtor 1                                    Marlene Witter, Debtor 2

   Date       06/03/2016                                      Date     06/03/2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                        Attach the Bankruptcy Petition Preparer's Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8
                      Case 16-18011-RBR             Doc 1     Filed 06/03/16        Page 60 of 76




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liqudation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
                       Case 16-18011-RBR               Doc 1    Filed 06/03/16       Page 61 of 76




    most fines, penalties, forfeitures, and criminal             for your state of residence and family size, depending
    restitution obligations; and                                 on the results of the Means Test, the U.S. trustee,
                                                                 bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy         dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                      Code. If a motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:              choose to proceed under another chapter of the
                                                                 Bankruptcy Code.
    fraud or theft;
                                                                 If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                 trustee may sell your property to pay your debts, subject
    capacity;
                                                                 to your right to exempt the property or a portion of the
                                                                 proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                 and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor         trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from          called exempt property. Exemptions may enable you to
    alcohol or drugs.                                            keep your home, a car, clothing, and household items or
                                                                 to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have            Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You           must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly            Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing    property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine         proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                 Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                 +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--           Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your               is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to          11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                page 2
                       Case 16-18011-RBR            Doc 1     Filed 06/03/16          Page 62 of 76


        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $75   administrative fee
                                                                After you make all the payments under your plan, many
        $275   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                     most criminal fines and restitution obligations,
          $310    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
                      Case 16-18011-RBR               Doc 1    Filed 06/03/16       Page 63 of 76




                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms              counseling briefing from an approved credit counseling
  .html#procedure.                                              agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department          In Alabama and North Carolina, go to:
    of Justice.                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
                                    Case 16-18011-RBR                                 Doc 1            Filed 06/03/16                     Page 64 of 76


B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF FLORIDA
                                                              FORT LAUDERDALE DIVISION
In re Samuel Witter                                                                                                                 Case No.
      Marlene Witter
                                                                                                                                    Chapter            13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $3,500.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                   $890.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $2,610.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                        Case 16-18011-RBR              Doc 1       Filed 06/03/16        Page 65 of 76


B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   06/03/2016                         /s/ John D. Segaul
                      Date                            John D. Segaul                             Bar No. 907405
                                                      Segaul Law Firm
                                                      300 S Pine Island Road # 304
                                                      Plantation, FL 33324
                                                      Phone: (954) 424-3600 / Fax: (954) 374-7298




    /s/ Samuel Witter                                               /s/ Marlene Witter
   Samuel Witter                                                   Marlene Witter
                           Case 16-18011-RBR           Doc 1        Filed 06/03/16         Page 66 of 76

John D. Segaul, Bar No. 907405
Segaul Law Firm
300 S Pine Island Road # 304
Plantation, FL 33324
(954) 424-3600
Attorney for the Petitioner



                                 UNITED STATES BANKRUPTCY COURT FOR THE
                                                 SOUTHERN DISTRICT OF FLORIDA
                                                   FORT LAUDERDALE DIVISION

In re:                                             Case No.:
Samuel Witter                                            SSN: xxx-xx-9430
Marlene Witter                                           SSN: xxx-xx-6719
Debtor(s)
                                           Numbered Listing of Creditors
Address:
7421 NW 35 Ct                                      Chapter:    13
Lauderhill, FL 33319



             Creditor name and mailing address                         Category of claim                   Amount of claim
1.     ADEMCO Distribution Inc                                       Unsecured Claim                                   $40,288.75
       c/o Leiderman Shelomith, P.A.
       2699 Stirling Rd # C-401
       Fort Lauderdale, FL 33312



2.     AMCA                                                          Unsecured Claim                                         $120.00
       2269 S Saw Mill
       Elmsford, NY 10523
       xxxxxxxxxxx5710



3.     Anesco North Broward, LLC                                     Unsecured Claim                                           $0.00
       3601 W Commercial Blvd # 5
       Ft Lauderdale, FL 33309




4.     AT&T Mobility                                                 Unsecured Claim                                           $0.00
       POB 536216
       Atlanta, GA 30353




5.     Can Capital Asset Servicing                                   Unsecured Claim                                   $11,176.72
       c/o Mateer Harbert
       225 E Robinson Street # 600
       Orlando, FL 32802



6.     Capital One                                                   Unsecured Claim                                    $1,548.00
       POB 30285
       Salt Lake City, UT 84130
       xxxx-xxxx-xxxx-7573
                             Case 16-18011-RBR           Doc 1   Filed 06/03/16         Page 67 of 76


 in re:    Samuel Witter
                                                    Debtor                                                Case No. (if known)

                Creditor name and mailing address                   Category of claim                   Amount of claim
7.        Capital One                                             Unsecured Claim                                         $681.00
          POB 30285
          Salt Lake City, UT 84130
          xxxx-xxxx-xxxx-4378



8.        Central Financial Control                               Unsecured Claim                                         $415.00
          POB 66044
          Anaheim, CA 92816
          xxxxxx9975



9.        Chase                                                   Unsecured Claim                                     $1,942.00
          POB 15298
          Wilmington, DE 19850
          xxxx-xxxx-xxxx-0332



10.       Comenity Bank/Victorias Secret                          Unsecured Claim                                         $129.00
          POB 182789
          Columbus, OH 43218
          xxxxxxxxxxxx1033



11.       Coral Community Bank                                    Unsecured Claim                                     $7,613.00
          19230 NE 47 St
          Fort Lauderdale, FL 33308
          xxxxxx0203



12.       Coral Springs Surgical Center                           Unsecured Claim                                         $290.00
          1725 University Dr, 2nd Floor
          Coral Springs, FL 33071
          xxx3081



13.       Credence                                                Unsecured Claim                                         $533.00
          POB 2268
          Southgate, MI 48195
          xxxxxxxxx9001



14.       Credit Collection Services                              Unsecured Claim                                     $1,184.00
          2 Wells Ave, Dept. 7250
          Newton, MA 02459
          xxxxxxx8721



15.       Eltman Law PC PA                                        Unsecured Claim                                     $1,849.00
          101 Hudson St #2707
          Jersey City, NJ 07302
          xxxxx3023




                                                                                                               Page 2
                             Case 16-18011-RBR           Doc 1   Filed 06/03/16         Page 68 of 76


 in re:    Samuel Witter
                                                    Debtor                                                Case No. (if known)

                Creditor name and mailing address                   Category of claim                   Amount of claim
16.       Eltman, Eltman & Cooper                                 Unsecured Claim                                           $0.00
          255 Alhambra Cir # 414
          Miami, FL 33134




17.       Enhanced Recovery Company LLC                           Unsecured Claim                                         $704.00
          8104 Bayberry Rd
          Jacksonville, FL 32256
          xxxxx2810



18.       Eye Physicians of Florida                               Unsecured Claim                                         $453.19
          13680 NW 6 Str # 240
          Sunrise, FL 33325
          x3115



19.       First Federal Credit & Control                          Unsecured Claim                                          $75.00
          5821 Hollywood Blvd
          Hollywood, FL 33021
          xxx2595



20.       First Federal Credit & Control                          Unsecured Claim                                          $75.00
          5821 Hollywood Blvd
          Hollywood, FL 33021
          xxx2596



21.       First Federal Credit Collections                        Unsecured Claim                                         $453.00
          24700 Chagrin Blvd # 2
          Cleveland, OH 44122
          xxxx5346



22.       First Premier Bank                                      Unsecured Claim                                         $406.00
          601 S Minnesota Ave
          Sioux Falls, SD 57104
          xxxxxxxxxxxx5177



23.       First Premier Bank                                      Unsecured Claim                                         $358.00
          601 S Minnesota Ave
          Sioux Falls, SD 57104
          xxxxxxxxxxxx8691



24.       Focus Receivables Mgmt                                  Unsecured Claim                                         $119.00
          1130 Northchase Pkwy SE
          Marietta, GA 30067
          xxxx0146




                                                                                                               Page 3
                            Case 16-18011-RBR            Doc 1   Filed 06/03/16         Page 69 of 76


 in re:    Samuel Witter
                                                    Debtor                                                Case No. (if known)

                Creditor name and mailing address                   Category of claim                   Amount of claim
25.       Gayon D. Dunn                                           Unsecured Claim                                     $3,630.00
          19151 SW 15 St
          Pembroke Pines, FL 33029
          xxxxxxx3265



26.       Household Finance                                       Unsecured Claim                                    $14,709.21
          c/o Rolfe Law
          POB 4400
          Jacksonville, FL 32201



27.       HSBC Orchard Bank                                       Unsecured Claim                                          $0.00
          POB 2013
          Buffalo, NY 14240




28.       Infinity Indemnity Insurance Company                    Unsecured Claim                                          $0.00
          POB 830189
          Birmingham, AL 35283




29.       Internal Revenue Service                                Priority Claim                                     $13,848.00
          POB 7346
          Philadelphia, PA 19101-7346




30.       Laboratory Corporation of America                       Unsecured Claim                                          $0.00
          POB 2240
          Burlington, NC 27216




31.       Law Office of Odalys Nodarse-Buscemi                    Unsecured Claim                                          $0.00
          2676 SW 137 Ave
          Miami, FL 33175




32.       Law Offices of Michael W. Carroll                       Unsecured Claim                                          $0.00
          8600 W. Commerical Blvd # 207
          Fort Lauderdale, FL 33309




33.       LVNV Funding, LLC                                       Unsecured Claim                                          $0.00
          POB 740281
          Houston, TX 77274




                                                                                                               Page 4
                             Case 16-18011-RBR           Doc 1   Filed 06/03/16         Page 70 of 76


 in re:    Samuel Witter
                                                    Debtor                                                Case No. (if known)

                Creditor name and mailing address                   Category of claim                   Amount of claim
34.       Merrick Bank                                            Unsecured Claim                                         $708.00
          POB 9201
          Old Bethpage, NY 11804
          xxxxxxxxxxxx4756



35.       Nationstar Mortgage LLC                                 Secured Claim                                    $266,389.00
          350 Highland Dr
          Lewisville, TX 75067
          xxxxx3117



36.       Nationwide Recovery Service                             Unsecured Claim                                           $0.00
          545 W Inman St
          Cleveland, TN 37311




37.       North Star Capital Acquisition, LLC                     Unsecured Claim                                           $0.00
          170 North Pointe Parkway
          Amherst, NY 14228




38.       Palm Beach County Fire Rescue                           Unsecured Claim                                         $636.00
          POB 862036
          Orlando, FL 32886
          xxxx3223



39.       Phillips, Cohen & Associates, Ltd                       Unsecured Claim                                           $0.00
          POB 48458
          Oak Park, MI 48238




40.       Quest Diagnostics                                       Unsecured Claim                                          $35.00
          POB 7306
          Hollister, MO 65673
          xxxxxx2925



41.       Santander Consumer USA                                  Secured Claim                                      $22,698.00
          POB 961245
          Fort Worth, TX 76161
          xxxxxxxxxxxxx1000



42.       Sheridan Emergency Physician Services                   Unsecured Claim                                         $241.00
          POB 848508
          Pembroke Pines, FL 33084
          xxx5636




                                                                                                               Page 5
                               Case 16-18011-RBR         Doc 1   Filed 06/03/16         Page 71 of 76


 in re:    Samuel Witter
                                                    Debtor                                                Case No. (if known)

                Creditor name and mailing address                   Category of claim                   Amount of claim
43.       Silmar Electronics                                      Unsecured Claim                                     $3,200.00
          3405 NW 113 Ct
          Miami, FL 33178
          xxxxxxx xxxxices



44.       South Florida Laser Eye Center                          Unsecured Claim                                           $0.00
          8051 W Sunrise Blvd
          Plantation, FL 33322




45.       Sprint                                                  Unsecured Claim                                           $0.00
          POB 105243
          Atlanta, GA 30348




46.       Square                                                  Unsecured Claim                                     $7,000.00
          1455 Market St # 600
          San Francisco, CA 94103




47.       State Farm Fire and Casualty Company                    Unsecured Claim                                     $8,971.00
          One State Farm Plaza
          Bloomington, IL 61710
          xxxxx0197



48.       State Farm Fire and Casualty Company                    Unsecured Claim                                     $3,042.00
          One State Farm Plaza
          Bloomington, IL 61710
          xxxxxxx6152



49.       Stellar Recovery, Inc                                   Unsecured Claim                                     $1,486.00
          POB 1119
          Charlotte, NC 28201
          xxx5353



50.       Terminix International                                  Unsecured Claim                                           $0.00
          860 Ridge Lake Blvd #101
          Memphis, TN 38120




51.       Transworld Systems Inc.                                 Unsecured Claim                                         $172.00
          POB 17221
          Wilmington, DE 19850
          xxxxx-xxxxxx6206




                                                                                                               Page 6
                            Case 16-18011-RBR               Doc 1       Filed 06/03/16           Page 72 of 76


 in re:    Samuel Witter
                                                       Debtor                                                            Case No. (if known)

               Creditor name and mailing address                             Category of claim                        Amount of claim
52.       University Hospital EKG Readers                                  Unsecured Claim                                                $0.00
          1175 Devin Dr # 174
          Muskegon, MI 49441




53.       Wells Fargo Bank                                                 Unsecured Claim                                                $0.00
          POB 5137
          Des Moines, IA 50306




54.       West Boca Medical Center                                         Unsecured Claim                                                $0.00
          21644 State Rd 7 West
          Boca Raton, FL 33428




55.       Westlake Financial Services                                      Secured Claim                                             $9,001.00
          137 North Virgil Ave # 100
          Los Angeles, CA 90004
          xxx9870




  (The penalty for making a false statement or concealing property is a fine of up to $500,000 or imprisonment for up to 5 years or both.
  18 U.S.C. secs. 152 and 3571.)
                                                             DECLARATION
  I, Samuel Witter                                                                                                                       ,
  named as debtor in this case, declare under penalty of perjury that I have read the foregoing Numbered Listing of Creditors,
                  7
  consisting of ______  sheets (including this declaration), and that it is true and correct to the best of my information and belief.


       Debtor: /s/ Samuel Witter                                                     Date: 6/3/2016
              Samuel Witter



      Spouse: /s/ Marlene Witter                                                     Date: 6/3/2016
              Marlene Witter




                                                                                                                              Page 7
                           Case 16-18011-RBR                    Doc 1        Filed 06/03/16        Page 73 of 76


 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1           Samuel                                       Witter                      According to the calculations required by this
                    First Name              Middle Name          Last Name                   Statement:

 Debtor 2            Marlene                                     Witter                         1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name          Last Name                         under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA                              under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                           $0.00           $1,433.33
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00                $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                               Debtor 1          Debtor 2
     Gross receipts (before all                  $5,844.37                $0.00
     deductions)
     Ordinary and necessary operating      –     $4,055.25   –            $0.00
     expenses                                                                     Copy
     Net monthly income from a business,         $1,789.12                $0.00 here         $1,789.12                 $0.00
     profession, or farm




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                    page 1
                                      Case 16-18011-RBR                                      Doc 1               Filed 06/03/16                     Page 74 of 76

Debtor 1          Samuel                                                             Witter                                            Case number (if known)
                  First Name                        Middle Name                      Last Name

                                                                                                                                           Column A        Column B
                                                                                                                                           Debtor 1        Debtor 2 or
                                                                                                                                                           non-filing spouse

6.    Net income from rental and other real property

                                                                 Debtor 1                       Debtor 2
      Gross receipts (before all                                             $0.00                           $0.00
      deductions)
      Ordinary and necessary operating                      –                $0.00          –                $0.00
      expenses                                                                                                            Copy
      Net monthly income from rental or                                      $0.00                           $0.00 here                            $0.00             $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                           $0.00             $0.00
8.    Unemployment compensation                                                                                                                    $0.00             $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                        $0.00             $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




      Total amounts from separate pages, if any.                                                                                     +                     +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                 $1,789.12      +      $1,433.33   =    $3,222.45
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                               Total average
                                                                                                                                                                               monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                         $3,222.45
12. Copy your total average monthly income from line 11. ..............................................................................................................................................
13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
             of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
             than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
             necessary, list additional adjustments on a separate page.

             If this adjustment does not apply, enter 0 below.




                                                                                                                      +
             Total......................................................................................................................   $0.00      Copy here                –       $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                       $3,222.45


Official Form 122C-1                        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                    page 2
                                 Case 16-18011-RBR                                      Doc 1               Filed 06/03/16                           Page 75 of 76

Debtor 1      Samuel                                                            Witter                                             Case number (if known)
              First Name                      Middle Name                       Last Name

15. Calculate your current monthly income for the year. Follow these steps:

    15a.    Copy line 14 here                                                                                                                                                                              $3,222.45
                                              ...................................................................................................................................................................................

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                 X         12

    15b.                                                                                                                                                          $38,669.40
            The result is your current monthly income for the year for this part of the form. .......................................................................................

16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                          Florida

    16b.    Fill in the number of people in your household.                                                    2

    16c.                                                                                                                                                             $53,654.00
            Fill in the median family income for your state and size of household......................................................................................................................
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                   On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:        Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                                   $3,222.45
                                                                                              ..............................................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.                                                                                                                                                             –                $0.00
            If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................................................

    19b.    Subtract line 19a from line 18.                                                                                                                                                                $3,222.45

20. Calculate your current monthly income for the year. Follow these steps:
    20a.                                                                                                                                                                                             $3,222.45
            Copy line 19b ...................................................................................................................................................................................
            Multiply by 12 (the number of months in a year).                                                                                                                                          X         12
    20b.    The result is your current monthly income for the year for this part of the form.                                                                                                             $38,669.40

    20c.                                                                                                                                                 $53,654.00
            Copy the median family income for your state and size of household from line 16c. .........................................................................................................

21. How do the lines compare?
           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C-1                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                      page 3
                         Case 16-18011-RBR                     Doc 1       Filed 06/03/16            Page 76 of 76

Debtor 1    Samuel                                       Witter                          Case number (if known)
            First Name            Middle Name            Last Name


 Part 4:      Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X   /s/ Samuel Witter                                                    X   /s/ Marlene Witter
        Samuel Witter, Debtor 1                                                  Marlene Witter, Debtor 2

        Date 6/3/2016                                                            Date 6/3/2016
             MM / DD / YYYY                                                           MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 122C-2.

    If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                        page 4
